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                 UNITED STATES DISTRICT COURT
               THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

ELIZABETH CARDONA and
JERARD BROWN,

                     Plaintiffs,
                                       Civil Action No.
          v.

VIVINT SOLAR, INC.,
VIVINT SOLAR DEVELOPER, LLC,
and
SOLAR MOSAIC, INC.,

                     Defendants.

                 UNITED STATES DISTRICT COURT
                THE MIDDLE DISTRICT OF FLORIDA
                        TAMPA DIVISION

ELIZABETH CARDONA and
JERARD BROWN,

                     Plaintiffs,
                                       Civil Action No. 18-cv-02838-SCB-
                                       JSS
          v.

VIVINT SOLAR, INC.,
VIVINT SOLAR DEVELOPER, LLC,
and
SOLAR MOSAIC, INC.,

                     Defendants.

 DEFENDANTS’ MOTION TO QUASH OR MODIFY SUBPOENA AND
         INCORPORATED MEMORANDUM OF LAW

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INTRODUCTION
       Defendants Vivint Solar, Inc., Vivint Solar Developer, LLC, and Solar

Mosaic, Inc., (“Defendants”) pursuant to Rule 45 hereby move to quash or modify

the subpoena (the “Subpoena”) served by Plaintiffs Elizabeth Cardona and Jerard

Brown (collectively “Plaintiffs”). The Subpoena is an improper attempt to compel

nonparty Equifax, Inc. (“Equifax”) to produce documents that exceed the scope of

the Discovery Order entered in the underlying action, Cardona, et. al. v. Vivint Solar,

Inc., et al., No. 18-cv-02838-SCB-JSS (M.D. Fla. filed Nov. 19, 2018) (the

“Underlying Action”). A true and correct copy of the Subpoena is attached hereto

as Exhibit A. Plaintiffs’ should not be able to circumvent the Discovery Order

entered by the Honorable Julie S. Sneed in the Underlying Action by subpoenaing

non-parties for information and documents that far exceed the scope of discovery

permitted among the actual parties to the Underlying Action and are largely

irrelevant to the issue to be tried.

       For the foregoing reasons, the Subpoena should be quashed or modified.

PROCEDURAL HISTORY AND FACTUAL BACKGROUND
       Plaintiffs commenced this action on October 15, 2018, in the United States

District Court, Middle District of Florida, under Docket Number 18-cv-02838-SCB-

JSS, alleging that Defendants violated the federal Fair Credit Reporting Act



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(“FCRA”) by pulling their credit without permission. See Compl., Dkt. No. 1-2.

Plaintiffs initially propounded discovery on Defendants seeking production of, inter

alia, similar consumer claims of improper credit pulls without any geographic or

time limitation. Defendants objected because the requests were not relevant or

proportional to the needs of a single plaintiff’s FCRA claim when the allegations

amount to a “he said, she said” dispute.1 Further, mere allegations of improper credit

pulls do not mean that a violation actually occurred. Finally, it is undisputed that

neither Defendants Solar Mosaic, Vivint Solar Inc., nor Vivint Solar Developer,

LLC, made the credit inquiries at issue, making discovery into other complaints

against those defendants wholly irrelevant.

      By Order dated July 23, 2019, the Honorable Julie S. Sneed denied Plaintiffs’

motions to compel and limited discovery to claims of improper credit pulls made

against Defendants (i) by consumers from Florida, and (ii) for complaints alleging

FCRA violations during 2016 and 2017 (the “Discovery Order”). See Dkt. No. 34,

also attached as Exhibit B.




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      While there are two Plaintiffs in the action, each Plaintiff has asserted

      individual claims.


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      Notwithstanding the Discovery Order, on August 29, 2019, Plaintiffs served

Equifax with the Subpoena seeking, inter alia, information “reflecting the allegation

that [Defendants] accessed a consumer’s credit report without authorization . . . [or]

a permissible purpose.” See Exhibit A. The Subpoena also improperly seeks

information “related to any review or investigation whether [Defendants

were] . . . obtaining consumer credit reports without authorization or a permissible

purpose.” Id.

      Indeed, the Subpoena to Equifax is a flagrant attempt to circumvent the

Discovery Order. Specifically, paragraphs 12 through 14 in the subpoena duces

tecum,2 as well as paragraphs 12 through 14 in the subpoena ad testificandum,3 seek

documents and testimony regarding:

            “[T]he allegation that [Defendants] accessed a consumer’s credit report
             without authorization.”

            “[T]he allegation that [Defendants] . . . accessed a consumer’s credit
             report without a permissible purpose.”

            “[A]ny review or investigation conducted by [Equifax] into whether
             [Defendants] was obtaining consumer credit reports without
             authorization or a permissible purpose.”



2
      See Exhibit A, p. 3, ¶¶ 12, 13, and 14.
3
      See Exhibit A, p. 5, ¶¶ 12, 13, and 14.


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      These topics are intentionally broad, and are not limited geographically to

Florida nor temporally limited to complaints during 2016 and 2017, as ordered by

the Honorable Julie S. Sneed. This information is also sensitive because disclosure

would require the release of sensitive consumers’ personal identifiable information.

      The Subpoena demands production of the documents on September 16, 2019,

and testimony on September 23, 2019. Id. at 1. To be clear, Defendants do not

object to those requests, which pertain specifically to each Plaintiff (i.e., Request

Nos. 4–11 and the corresponding Deposition Topic Nos. 4–11). Nor do Defendants

object to those requests which relate to their subscriber agreements with Equifax

(i.e., Request Nos. 1–3 and the corresponding Deposition Topic Nos. 1–3), as the

Honorable Julie S. Sneed ordered Defendants to produce the same.

      For the foregoing reasons, Defendants hereby move to quash or modify the

Subpoena.

ARGUMENT AND CITATION TO AUTHORITY

             1.    Defendants Have Standing to Move to Quash or Modify the
                   Subpoena
      The Eleventh Circuit has adopted a broad rule holding that “standing [to quash

a third-party subpoena] exists if the party alleges a personal right or privilege with

respect to the subpoena.” Auto-Owners Ins. Co. v. Se. Floating Docks, Inc., 231

F.R.D. 426, 428 (M.D. Fla. 2005) (quoting Brown v. Braddick, 595 F.2d 961, 967


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(5th Cir. 1979)); see also Florida ex rel. Butterworth v. Jones Chems., Inc., 1993

U.S. Dist. LEXIS 10348, 1993 WL 388645 *2 (M.D. Fla. 1993).

      Although Defendants are third-parties to the Subpoena, every paragraph in the

Subpoena requests documents and testimony about Defendants. Moreover, the

Subpoena seeks documents and testimony outside the parameters of discovery

defined in the underlying action by the Middle District of Florida. “[A] party has

standing to move to [quash a non-party subpoena] to enforce the Court’s orders and

rules.” Auto-Owners Ins. Co., 231 F.R.D. at 428; see also Cent. Bank of Tampa v.

Transamerica Ins. Grp., 128 F.R.D. 285 (M.D. Fla. 1989) (granting defendant’s

motion to quash and for a protective order as to subpoena directed to non-party that

did not comply with Fed. R. Civ. P. 26).

      The parameters set forth by Magistrate Judge Sneed were clear—Plaintiffs are

only entitled to discovery about similar claims against Defendants of improper credit

pulls in Florida for the years 2016 and 2017. But the Subpoena seeks documents

and testimony about alleged improper credit pulls on a nationwide basis without any

restriction as to time. Plaintiffs are intentionally defying Judge Sneed’s Discovery

Order. Moreover, Plaintiffs seek sensitive consumer information, and compliance

with the Subpoena would require the release of personal identifiable information,

like: social security numbers, driver’s license numbers, passport numbers, and bank


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and credit/debit card numbers.       Plaintiffs admits in their own complaint that

consumer report data includes a “trove of sensitive personal and private

information . . . such as his birth date, credit history profile, pay histories, employer

information and the like.” See Dkt. No. 1, ¶ 41. Yet Plaintiffs now demand that

Equifax produce to them this same information about other consumers across the

nation.

      Because the Subpoena seeks documents and information outside the discovery

parameters ordered by Judge Sneed and requires disclosure of sensitive consumer

information, Defendants have a personal right with respect to the Subpoena and,

therefore have standing as a third party to move to quash or modify the Subpoena

served upon Equifax.

      2.     The Subpoena Improperly Attempts to Seek Disclosure Materials
             Outside the Scope of Permissible Discovery as well as Sensitive
             Consumer and Company Information.
      Rule 45(d)(3)(A)(iii) provides that a subpoena must be quashed or modified

when it requires disclosure of privileged or other protected matter. See Fed R. Civ.

Pro. 45(d)(3)(A)(iii). The provision in Rule 45 requiring quashing or modification

of a subpoena that calls for disclosure of “other protected” materials refers to

testimony or production that, although not privileged, is nevertheless protected from

compelled disclosure. See Moore’s Federal Practice § 45.51[3] (3d ed. 2017).



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      Here, the Subpoena improperly seeks information outside of the parameters

and scope of permissible information set forth in Judge Sneed’s Discovery Order—

sensitive consumer information for individuals who are not parties to this litigation,

and other overly broad and irrelevant topics. Thus, these portions of the Subpoena

should be quashed or modified as disclosure of this information and documentation

is harmful to Defendants. Defendants anticipate Plaintiffs will cite to a recent

decision from this Court involving a different case brought by their attorney against

Vivint Solar Developer, LLC, only, also under the FCRA to support their quest for

unfiltered discovery from Equifax. See Christine Droney, et al., v. Vivint Solar, No.

1:19-cv-02735-WMR-RGV (N.D. Ga.) (“Droney”).                There are two crucial

distinctions between the Underlying Action and Droney. The credit inquiries at

issue in the Underlying Action were not made by Vivint Solar Developer, LLC.

They were made by Solar Mosaic, Inc. In addition, the discovery order entered by

the underlying court in Droney regarding the issue raised here—scope of permissible

discovery regarding allegations of improper credit pulls—was much broader than

that permitted by the Discovery Order in the Underlying Action.4



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      The Droney Court permitted discovery on this issue from six states. The

      Discovery Order in the Underlying Action is much narrower.


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      Additionally, courts have routinely quashed and modified subpoenas when the

information and documentation demanded in a subpoena conflicts with a prior

discovery order. See Trans Energy, Inc. v. EQT Prod. Co., Civil Action No.

5:13CV93, 2016 U.S. Dist. LEXIS 10530 (N.D. W. Va. Jan. 29, 2016) (the court

quashed the subpoena because it sought discovery outside of the parameters

established in the prior discovery order); see also Zoltek Corp. v. United States, 104

Fed. Cl. 647 (2012) (the court modified the subpoena to conform with the parameters

set forth in the prior discovery order).5 The Subpoena issued in this case is in direct

conflict with Judge Sneed’s prior Discovery Order. Judge Sneed ordered that

Plaintiffs were only entitled to “any prior complaint from Florida, in 2016 and

2017,” that alleges the Defendants violated the FCRA by obtaining a consumer’s

credit report without authorization. See Exhibit B. Plaintiffs now seek to avoid that

Order by issuing the Subpoena.

      Compliance with paragraphs 12 through 14 in the Subpoena duces tecum as

well as paragraphs 12 through 14 in the Subpoena ad testificandum will result in (1)

discovery being produced that is outside of Judge Sneed’s Discovery Order; and (2)



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      It is axiomatic that a court will permit broader discovery obligations on on-

      parties than those discovery obligations on actual parties to the litigation.


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the release of nonparties’ sensitive consumer information. Thus, the Subpoena

should be quashed in its entirety or modified to comply with the Discovery Order.

                                 CONCLUSION
      Plaintiffs’ Subpoena to Equifax does not comply with Federal Rule of Civil

Procedure 45 because it requires disclosure of protected matter in violation of Rule

45(d)(3)(A)(iii) and requires disclosure of sensitive consumer information.

Accordingly, Defendants respectfully request that the Court quash the Subpoena, or

modify the requests to comply with Judge Sneed’s Discovery Order.




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Dated: September 12, 2019           Respectfully Submitted,

                                    /s/ William H. Rooks
                                    William H. Rooks
                                    Georgia Bar No. 906785
                                    BALLARD SPAHR LLP
                                    999 Peachtree Street, Suite 1000
                                    Atlanta, Georgia 30309
                                    Telephone: (678) 420-9492
                                    Facsimile: (678) 420-9301
                                    rooksw@ballardspahr.com

                                    Attorney for Defendants
                                    Vivint Solar, Inc., Vivint Solar
                                    Developer, LLC, and Solar Mosaic,
                                    Inc.




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          CERTIFICATION OF COMPLIANCE WITH L.R. 5.1B
      I hereby certify that the foregoing has been computer processed with 14 point

Times New Roman Font in compliance with the United States District Court for the

Northern District of Georgia Local Rule 5.1B.

Dated: September 12, 2019                 Respectfully Submitted,

                                          /s/ William H. Rooks
                                          William H. Rooks
                                          Georgia Bar No. 906785
                                          BALLARD SPAHR LLP
                                          999 Peachtree Street, Suite 1000
                                          Atlanta, Georgia 30309
                                          Telephone: (678) 420-9492
                                          Facsimile: (678) 420-9301
                                          rooksw@ballardspahr.com

                                          Attorney for Defendants
                                          Vivint Solar, Inc., Vivint Solar
                                          Developer, LLC, and Solar Mosaic,
                                          Inc.




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                        CERTIFICATE OF SERVICE
      I hereby certify that on September 12, 2019, I served a copy of the foregoing

document with the Clerk of Court and all parties of record using the CM/ECF

system, e-mail, and U.S. Mail.

Dated: September 12, 2019                 Respectfully Submitted,

                                          /s/ William H. Rooks
                                          William H. Rooks
                                          Georgia Bar No. 906785
                                          BALLARD SPAHR LLP
                                          999 Peachtree Street, Suite 1000
                                          Atlanta, Georgia 30309
                                          Telephone: (678) 420-9492
                                          Facsimile: (678) 420-9301
                                          rooksw@ballardspahr.com

                                          Attorney for Defendants
                                          Vivint Solar, Inc., Vivint Solar
                                          Developer, LLC, and Solar Mosaic,
                                          Inc.




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